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Local AO 450 (rev. 5/10)




                                              United States District Court
                                                       District of North Dakota

   Corner Post, Inc., North Dakota Retail Association,
   and North Dakota Petroleum Marketers
   Association,
                                                                             JUDGMENT IN A CIVIL CASE
                                 Plaintiff,

        vs                                                                   Case No.       1:21-cv-095

   Board of Governers of the Federal Reserve System,

                                 Defendant.




              Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has rendered its
              verdict.

              Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a decision has
              been rendered.

      ✔ Decision on Motion. This action came before the Court on motion. The issues have been considered and a decision rendered.
              Stipulation. This action came before the court on motion of the parties. The issues have been resolved.

              Dismissal. This action was voluntarily dismissed by Plaintiff pursuant to Fed. R. Civ. P. 41(a)(1)(ii).

IT IS ORDERED AND ADJUDGED:
Pursuant to the Order filed March 11, 2022, the Board’s Motion to Dismiss for Lack of Jurisdiction or,
alternatively, for Failure to State a Claim are GRANTED. The Amended Complaint is, therefore, DISMISSED.




      March 11, 2022
Date: __________________                                                      ROBERT J. ANSLEY, CLERK OF COURT
                                                                                 /s/ Melissa Fischer, Deputy Clerk
                                                                             by:________________________________
